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                     EXHIBIT A
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GVP/Hug          mixi, Inc.
GVP/Hug          NCSoft
GVP/Hug          NetEase Games (Hong Kong NetEase Interactive
                 Entertainment)
GVP/Hug          Netmarble
GVP/Hug          Nexon Company
GVP/Hug          Niantic, Inc.
GVP/Hug          Nintendo Co., Ltd.
GVP/Hug          Pearl Abyss
GVP/Hug          Playrix (PLR Worldwide)
GVP/Hug          Riot Games, Inc
GVP/Hug          Square Enix Co. Ltd.
GVP/Hug          Tencent Games (Proxima)
GVP/Hug          Ubisoft Entertainment
AVP              Calm
AVP              Age of Learning
AVP              Smule


Sincerely,




Brian C. Rocca

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